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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 IN RE:
                                                       Case No. 22-40667
 CAMERON M PERONI                                      Chapter 7


                                  Debtor(s)

     TRUSTEE’S APPLICATION TO APPROVE EMPLOYMENT OF ATTORNEYS
YOUR RIGHTS MAY BE AFFECTED BY THE RELIEF SOUGHT IN THIS PLEADING. YOU SHOULD READ THIS PLEADING
CAREFULLY AND DISCUSS IT WITH YOUR ATTORNEY, IF YOU HAVE ONE IN THIS BANKRUPTCY CASE. IF YOU OPPOSE
THE RELIEF SOUGHT BY THIS PLEADING, YOU MUST FILE A WRITTEN OBJECTION, EXPLAINING THE FACTUAL
AND/OR LEGAL BASIS FOR OPPOSING THE RELIEF.

NO HEARING WILL BE CONDUCTED ON THIS APPLICATION UNLESS A WRITTEN OBJECTION IS FILED WITH THE
CLERK OF THE UNITED STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY FILING THIS PLEADING
WITHIN FOURTEEN (14) DAYS FROM THE DATE OF SERVICE SHOWN IN THE CERTIFICATE OF SERVICE
UNLESS THE COURT SHORTENS OR EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO OBJECTION IS TIMELY
SERVED AND FILED, THIS PLEADING SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN ORDER
GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL
THEREAFTER SET A HEARING WITH APPROPRIATE NOTICE. IF YOU FAIL TO APPEAR AT THE HEARING, YOUR
OBJECTION MAY BE STRICKEN. THE COURT RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.


        COMES NOW Mark A. Weisbart, Chapter 7 Trustee (“Trustee”) in the above-numbered

bankruptcy case, and files this his Application to Approve Employment of Attorneys pursuant to

11 U.S.C. § 327, and in support hereof, would show the Court the following:

        1.      On May 27, 2022, a voluntary petition under Chapter 7 of the Bankruptcy Code

was filed by the Debtor(s). Mark A. Weisbart is the duly appointed Trustee.

        2.      The Trustee wishes to employ himself and his law office Hayward PLLC

(collectively the “Firm”) to represent him in the above-numbered bankruptcy case effective as of

July 1, 2022.

        3.      The Trustee has selected the Firm for the reason that it has considerable experience

in matters of this nature. The Trustee believes that the Firm is well qualified to represent the

Trustee in this bankruptcy case.

        4.      In addition to the standard legal services performed by counsel for a Chapter 7

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Trustee, the professional services of the Firm will include pursuing the recovery and sale of estate

assets.

          5.    The Firm represents no adverse interest to the Trustee or to the bankruptcy estate

in the matters for which it is to be engaged. The Trustee will perform legal services through The

Firm, on his own behalf, and is familiar with the quality and legal expertise of its members. The

Firm’s employment would be in the best interest of this estate. To the best of the Trustee’s

knowledge, the Firm has no connection with the Debtor, the creditors, any other party-in-interest

or their respective attorneys, and accountants, the United States Trustee or any person employed

in the Office of the United States Trustee. (See attached Affidavit of Mark A. Weisbart).

          6.    Trustee requests approval to retain the Firm as counsel pursuant to 11 U.S.C.

§327(a) as Trustee believes that the retention of the Firm is in the bankruptcy estate’s best interest.

          7.    11 U.S.C. § 327(a) provides that a trustee may, with the Court’s approval, employ

one or more attorneys that do not hold or represent an interest adverse to the estate, and that are

disinterested persons, to represent or assist the trustee in carrying out the trustee’s duties under the

Bankruptcy Code.

          8.    The terms of the employment of the Firm agreed to by the Trustee and subject to

the approval of the Bankruptcy Court, are for services to be rendered at the normal hourly billing

rates for legal services performed by the Firm. The Firm’s billing rates for cases of this size and

nature are as follows: Mark A. Weisbart – $515.00 per hour; James S. Brouner – $450.00 per hour;

Michael Gilmore – $225.00 per hour; paralegal – $125.00 per hour. These rates are subject to

annual adjustments at the beginning of each calendar year. The Firm will, from time to time, make

application to this Court for approval of its legal fees and reimbursement of its out-of-pocket

expenses.

          WHEREFORE, PREMISES CONSIDERED, the Trustee prays that his Application to

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Approve Employment of Attorneys be approved by this Court under the terms specified above,

and for such other and further relief to which he may show himself to be justly entitled.

                                                  Respectfully Submitted,

                                                 /s/ Michael Gilmore
                                                 Michael Gilmore
                                                 Texas Bar No. 24120851
                                                 HAYWARD PLLC
                                                 10501 N Central Expy, Suite 106
                                                 Dallas, TX 75231
                                                 (972) 755-7102 Phone/Fax
                                                 Mgilmore@HaywardFirm.com

                                                 COUNSEL FOR CHAPTER 7 TRUSTEE




                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing instrument was served on the
parties on the attached mailing list in accordance with LBR 9013(f) either through the Court’s
electronic notification system as permitted by Appendix 5005 III. E. to the Local Rules of the U.S.
Bankruptcy Court for the Eastern District of Texas, or by first class United States Mail, postage
prepaid on this the 22nd day of July 2022.
                                                     /s/ Michael Gilmore
                                                     Michael Gilmore




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